Filed 01/16/18                                               Case 15-11835                                         Doc 659

     FORM L147 Order Reopening Case (v.3.16)                                                           15−11835 − A − 7

                   UNITED STATES BANKRUPTCY COURT
                        Eastern District of California
                               Robert E. Coyle United States Courthouse
                                   2500 Tulare Street, Suite 2501
                                       Fresno, CA 93721−1318
                                           (559) 499−5800
                                       M−F 9:00 AM − 4:00 PM
                                       www.caeb.uscourts.gov



                                                   ORDER REOPENING CASE


     Case Number:            15−11835 − A − 7
     Debtor Name(s) and Address(es):


        James Floyd Cannon                                                Jamie Darlene Cannon
        1134 W Galloway Ave                                               1134 W Galloway Ave
        Weiser, ID 83672                                                  Wesier, ID 83672

     OTHER NAMES USED WITHIN 8 YEARS BEFORE FILING THE PETITION:
       J & J Cleanup Service Inc.




        IT IS ORDERED that the above−entitled case is hereby reopened. No further action has been taken
        by the Court other than to reopen the case, unless you have received and have satisfied all issues
        highlighted in a Notice of Case Closed Without Discharge.

        Any request for additional relief must be made by a separate motion.

        No trustee will be appointed in this case unless a party to the case files a request for the
        appointment of a trustee.

        The case will be closed without further notice if the debtor/party does not also file the motion,
        complaint, or statement on which the reopening is based within 30 days.




      Dated: 1/16/18                                       ORDERED PURSUANT TO GENERAL ORDER 16−04
                                                           WAYNE BLACKWELDER, CLERK



                                                           By:    pdes
                                                                              Deputy Clerk
